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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 HAYWOOD, et al.,                               §
                                                §
      Plaintiffs,                               §
                                                §
 v.                                             § Civil Action No. 3:22-cv-2174-C-BT
                                                §
 TEXAS REALATOR, et al.,                        §
                                                §
      Defendants.                               §

                         REPLY IN SUPPORT OF
            DEFENDANTS PENNYMAC LOAN SERVICES, LLC’S AND
      MACKIE WOLF ZIENTZ & MANN, P.C.’S MOTION TO DISMISS PURSUANT
              TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(5)

        Defendants PennyMac Loan Services, LLC (“PennyMac”) and Mackie Wolf Zientz &

Mann PC (“MWZM”, collectively “Defendants”), file this Reply in Support of Motion to Dismiss

Pursuant to Federal Rule of Civil Procedure 12(b)(5) and respectfully show the Court as follows:

                                                I.

        Plaintiff Tianikwa Haywood (“Plaintiff”) in her Objection to Defendants’ Motion to

Dismiss [ECF No. 13] offers nothing to suggest that she properly served either Defendant.

Contrary to Plaintiff’s assertions, service of summons and complaint by regular United States mail

is not permitted under either the Federal Rules of Civil Procedure or the Texas Rules of Civil

Procedure. Further, Plaintiff in her Response says nothing about service on PennyMac.

        WHEREFORE, PREMISES CONSIDERED, Defendants respectfully request this

Court dismiss Plaintiffs’ Complaint with prejudice and grant Defendants all other relief to which

it may be entitled.




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                                                   Respectfully submitted,

                                                By:    /s/ Mark D. Cronenwett
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                                                Attorneys for Defendants Mackie Wolf Zientz &
                                                Mann, P.C. and PennyMac Loan Services, LLC




                               CERTIFICATE OF SERVICE

        The undersigned further certifies that on November 8, 2022, a true and correct copy of
the foregoing document was delivered via regular United States mail to the following counsel of
record:

          Tianikwa Haywood
          3222 Burgundy Lane
          Midlothian, Texas 76065
          Pro Se Plaintiff

                                                   /s/ Mark D. Cronenwett
                                                   MARK D. CRONENWETT




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